 Fill in this information to identify the case:

 Debtor name         Fourteenth Avenue Cartage Company, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)         19-54128
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chemical Bank                                           Checking                        3397                                     $1,331.77




           3.2.     Chemical Bank                                           Checking                        1836                                             $0.00




           3.3.     Chemical Bank                                           Checking                        8035                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,331.77
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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               19-54128-mlo                  Doc 34            Filed 10/17/19      Entered 10/17/19 23:07:03                   Page 1 of 73
 Debtor           Fourteenth Avenue Cartage Company, Inc.                                         Case number (If known) 19-54128
                  Name




           7.1.     Trailer X-Press - deposit for Trailers                                                                                    $25,000.00




           7.2.     Quaker State, refinancing due diligence deposit                                                                             $7,500.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                               $32,500.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         1,824,793.52    -                                   0.00 = ....               $1,824,793.52
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                               412,353.50   -                          183,378.98 =....                     $228,974.52
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                            $2,053,768.04
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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               19-54128-mlo                  Doc 34            Filed 10/17/19         Entered 10/17/19 23:07:03                Page 2 of 73
 Debtor         Fourteenth Avenue Cartage Company, Inc.                                          Case number (If known) 19-54128
                Name

           FUEL IN TRUCKS
           PURCHASED WITHIN 20
           DAYS OF THE PETITION
           DATE.                                      10/3/2019                           $33,436.80    Comparable sale                        Unknown




 23.       Total of Part 5.                                                                                                                     $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           CUBICLE DESKS, CHAIRS, OFFICE DESKS
           AND CHAIRS; REFRIGERATOR, MICROWAVE,
           LUNCH ROOM TABLE, STORAGE CARTS,
           MACHINE STANDS.                                                                 $4,691.00    Appraisal                              $3,500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           PHONES, COMPUTERS, SCANNERS,
           PRINTERS, COPIERS, SOFTWARE
           PROGRAMS.                                                                      $31,368.00    Appraisal                              $5,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $8,500.00
           Add lines 39 through 42. Copy the total to line 86.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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               19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03           Page 3 of 73
 Debtor         Fourteenth Avenue Cartage Company, Inc.                                       Case number (If known) 19-54128
                Name



 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Trailers.                                                        $50,464.00     Appraisal                            $25,500.00


           47.2.     Cab Cameras and CB radios                                        $48,148.00     Comparable sale                      $20,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           HI/LO                                                                        $1,389.00    Appraisal                              Unknown


           Tenant 800 sweeper                                                         $73,827.00     Comparable sale                      $32,900.00


           Generator                                                                        $0.00    Appraisal                              $3,000.00



 51.       Total of Part 8.                                                                                                           $81,400.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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               19-54128-mlo                  Doc 34            Filed 10/17/19      Entered 10/17/19 23:07:03            Page 4 of 73
 Debtor         Fourteenth Avenue Cartage Company, Inc.                                       Case number (If known) 19-54128
                Name



 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 4401 STECKER
                     STREET,
                     DEARBORN, MI
                     48126
                     LEASEHOLD                                                         Unknown                                               Unknown




 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used     Current value of
                                                                              debtor's interest        for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.fourteenth.com                                                         Unknown                                               Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer mailing lists and vendor numbers.                                 Unknown                                               Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                   $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 5
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               19-54128-mlo                  Doc 34            Filed 10/17/19      Entered 10/17/19 23:07:03              Page 5 of 73
 Debtor         Fourteenth Avenue Cartage Company, Inc.                                      Case number (If known) 19-54128
                Name


               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Federal N.O.L. $3,416,148. Calculated tax rate x present
            value x 21% x .9                                                                   Tax year 2018                            $640,000.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            Advantage                                                                                                                      Unknown
            Nature of claim                    BREACH OF CONTRACT,
                                               PROMISSORY, ESTOPPEL
            Amount requested                            $1,300,000.00



            Wells Fargo Equipment Finance.                                                                                                 Unknown
            Nature of claim       Excess value of trailers.
            Amount requested                   $175,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                        $640,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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               19-54128-mlo                  Doc 34            Filed 10/17/19      Entered 10/17/19 23:07:03           Page 6 of 73
 Debtor         Fourteenth Avenue Cartage Company, Inc.                                      Case number (If known) 19-54128
                Name


               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 7
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               19-54128-mlo                  Doc 34            Filed 10/17/19      Entered 10/17/19 23:07:03           Page 7 of 73
 Debtor          Fourteenth Avenue Cartage Company, Inc.                                                             Case number (If known) 19-54128
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,331.77

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $32,500.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,053,768.04

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $8,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $81,400.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $640,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,817,499.81            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,817,499.81




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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                19-54128-mlo                     Doc 34             Filed 10/17/19                    Entered 10/17/19 23:07:03                      Page 8 of 73
 Fill in this information to identify the case:

 Debtor name         Fourteenth Avenue Cartage Company, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)             19-54128
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Chemical Bank                                  Describe debtor's property that is subject to a lien                 $550,000.00                  Unknown
       Creditor's Name                                PERSONAL PROPERTY
       333 E Main St
       Midland, MI 48640
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/4/2018                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3236
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Chemical Bank                                  Describe debtor's property that is subject to a lien                 $380,000.00                  Unknown
       Creditor's Name                                All PERSONAL PROPERTY
       333 E Main St
       Midland, MI 48640
       Creditor's mailing address                     Describe the lien
                                                      NON PURCHASE MONEY SECURITY
                                                      INTEREST
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/11/2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9607
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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                19-54128-mlo                   Doc 34          Filed 10/17/19               Entered 10/17/19 23:07:03                 Page 9 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                  Case number (if know)      19-54128
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   CHEMICAL BANK                                  Describe debtor's property that is subject to a lien                     $554,000.00      Unknown
       Creditor's Name                                ALL PERSONAL PROPERTY
       333 E Main St
       Midland, MI 48640
       Creditor's mailing address                     Describe the lien
                                                      NON PURCHASE MONEY SECURITY
                                                      INTEREST
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2-22-2017                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4357
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   CHEMICAL BANK                                  Describe debtor's property that is subject to a lien                 $1,400,000.00        Unknown
       Creditor's Name                                ALL PERSONAL PROPERTY
       333 E Main St
       Midland, MI 48640
       Creditor's mailing address                     Describe the lien
                                                      Non-purchase money security interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1-31-2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3091
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   InLand Finance Company                         Describe debtor's property that is subject to a lien                      $12,000.00      Unknown
       Creditor's Name                                Geneva Coffee Fresh Brew, vending
                                                      machines.
       8040 University Blvd.
       Clive, IA 50325
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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              19-54128-mlo                  Doc 34            Filed 10/17/19               Entered 10/17/19 23:07:03                  Page 10 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                  Case number (if know)       19-54128
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6144
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



                                                                                                                               $2,896,000.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Smith, Martin, Powers & Knier, P.C.
        Mr. Henry Knier                                                                                         Line   2.1
        900 Washington Ave.
        Bay City, MI 48707

        Smith, Martin, Powers & Knier, P.C.
        Mr. Henry Knier                                                                                         Line   2.2
        900 Washington Ave.
        Bay City, MI 48707

        Talmer Bank and Trust
        3201 West Big Beaver Road                                                                               Line   2.1
        Ste. 525
        Troy, MI 48084

        Talmer Bank and Trust
        3201 West Big Beaver Road                                                                               Line   2.2
        Ste. 525
        Troy, MI 48084




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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              19-54128-mlo                  Doc 34            Filed 10/17/19               Entered 10/17/19 23:07:03                  Page 11 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 12 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 13 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 14 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 15 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 16 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 17 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 18 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 19 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 20 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 21 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 22 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 23 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 24 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 25 of 73
 Fill in this information to identify the case:

 Debtor name         Fourteenth Avenue Cartage Company, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)           19-54128
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $128.12
           9N9-PRAXAIR DISTRIBUTION INC                                         Contingent
           5825 Wyoming Avenue                                                  Unliquidated
           Dearborn, MI 48126                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $403.87
           ABSOPURE WATER                                                       Contingent
           8835 General Drive                                                   Unliquidated
           Plymouth, MI 48170                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Accident Fund Insurance Company of Amer                              Contingent
           200 N. Grand Avenue                                                  Unliquidated
           Lansing, MI 48933                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,195.00
           Allied Abuse Substance Professionals                                 Contingent
           23906 Woodward Ave                                                   Unliquidated
           Pleasant Ridge, MI 48069                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 26 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $49.00
          American Process Agents                                               Contingent
          1900 Texas Avenue                                                     Unliquidated
          Bridge City, TX 77611                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $876.00
          APPLIED IMAGING                                                       Contingent
          46620 Ryan Ct                                                         Unliquidated
          Novi, MI 48377                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,154.36
          ARAMARK UNIFORM SERVICES                                              Contingent
          5120 Advantage Drive                                                  Unliquidated
          Toledo, OH 43612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          ASSURED TELEMATICS INC                                                Contingent
          64 Windsor Road                                                       Unliquidated
          Milton, MA 02186                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,232.19
          AT&T
          c/o Bankruptcy                                                        Contingent
          4331 Communications Dr.                                               Unliquidated
          Floor 4W                                                              Disputed
          Dallas, TX 75211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,077.96
          Bank of America                                                       Contingent
          475 Crossy Point Parkway                                              Unliquidated
          Getzville, NY 14068-9000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,000.00
          Beatrice Ryan                                                         Contingent
          28336 Wildwood Trail                                                  Unliquidated
          Farmington, MI 48336                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 27 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,660.82
          BESTDRIVE                                                             Contingent
          22100 Trolly Industrial Blvd                                          Unliquidated
          Taylor, MI 48180                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,904.04
          Blue Care Network                                                     Contingent
          20500 Civic Center Drive                                              Unliquidated
          Southfield, MI 48076                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $22,722.01
          Blue Cross Blue Shield                                                Contingent
          415 E Jefferson Avenue                                                Unliquidated
          Detroit, MI 48226                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          BMO Transportation Finance                                            Contingent
          300 E John Carpenter Freeway Suite 500                                Unliquidated
          Irving, TX 75062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,410.00
          BOULEVARD & TRUMBULL TOWING                                           Contingent
          2411 Vinewood Street                                                  Unliquidated
          Detroit, MI 48216                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,945.13
          CANON FINANCIAL SERVICES, INC                                         Contingent
          158 Gaither Drive Suite 200                                           Unliquidated
          Mount Laurel, NJ 08054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $441,642.55
          CAPITAL ALLIANCE CORPORATION                                          Contingent
          6246 W Sternes Rd
                                                                                Unliquidated
          Ottawa Lake, MI 49267
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 28 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          CERTIFIED ALIGNMENT & SUSPENSION INC                                  Contingent
          6707 Dix                                                              Unliquidated
          Detroit, MI 48209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $444.99
          Chicago-Ohio Valley Cons. Chassis Pool,                               Contingent
          500 International Drive, Ste. 130                                     Unliquidated
          Budd Lake, NJ 07828                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $381.89
          CITY OF DEARBORN - WATER                                              Contingent
          2951 Greenfield                                                       Unliquidated
          Dearborn, MI 48120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,480.00
          CLIF OROZCO LLC                                                       Contingent
          11664 Phyllis ST                                                      Unliquidated
          Taylor, MI 48180                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,600.00
          COMPASS LEASE LLC                                                     Contingent
          29171 Goddard Rd                                                      Unliquidated
          Romulus, MI 48174                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,313.95
          CONTRACTORS FENCE & GATE SERVICE                                      Contingent
          14900 Telegraph Rd                                                    Unliquidated
          Redford, MI 48239                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          COSCO Shipping Lines North America Inc                                Contingent
          15600 JFK Blvd, Suite 400                                             Unliquidated
          Houston, TX 77032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 29 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $246.00
          D & B LANDSCAPING INC                                                 Contingent
          13222 Merriman Rd                                                     Unliquidated
          Livonia, MI 48150                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,985.85
          DICKINSON FLEET ENTERPRISES                                           Contingent
          1000 John R Suite 110                                                 Unliquidated
          Troy, MI 48083                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $517.00
          Direct Chassis Link, Inc.                                             Contingent
          3525 WhiteHall Park Drive                                             Unliquidated
          Ste. 400                                                              Disputed
          Charlotte, NC 28273
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2844                         Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,227.10
          DRIVER LOGISTICS                                                      Contingent
          19500 Middlebelt Rd Suite 350                                         Unliquidated
          Livonia, MI 48152                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          DRIVEWIZE                                                             Contingent
          170 6325 GATEWAY BLVD NW                                              Unliquidated
          EDMONTON ALBERTA CA T6H5H6                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          DTE Energy                                                            Contingent
          P.O. Box 740786                                                       Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $610.75
          EASTMAN FIRE PROTECTION COMPANY                                       Contingent
          LLC                                                                   Unliquidated
          1450 Souter                                                           Disputed
          Troy, MI 48083
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 30 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $112.77
          FEDEX REVENUE SERVICES                                                Contingent
          3965 Airways Boulevard Module G                                       Unliquidated
          Memphis, TN 38116                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $47,631.06
          FIRST BANKCARD                                                        Contingent
          1620 Dodge St                                                         Unliquidated
          Omaha, NE 68197                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $556.25
          Flexi-Van Leasing                                                     Contingent
          251 Monroe                                                            Unliquidated
          Kenilworth, NJ 07033                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       03CG
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $125,291.94
          FLYERS ENERGY                                                         Contingent
          633 West Wisconsin Avenue                                             Unliquidated
          Suite 1800                                                            Disputed
          Milwaukee, WI 53203
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $49,836.00
          GROUND CONTROL PROPERTY SERVICES                                      Contingent
          13250 Rotunda Dr Suite D                                              Unliquidated
          Dearborn, MI 48120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,219.00
          GUEST, OLDS & WEST PLC                                                Contingent
          30600 Telegraph Rd Suite 3165                                         Unliquidated
          Franklin, MI 48025                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,100.00
          HAPAG-LLOYD AMERICA INC                                               Contingent
          5515 Spallding Drive                                                  Unliquidated
          Norcross, GA 30092                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 31 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,172.39
          HI-LO INDUSTRIAL TRUCKS COMPANY                                       Contingent
          10268 West Jefferson Avenue                                           Unliquidated
          River Rouge, MI 48218                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $185.00
          HIGH TECH SECURITY SYSTEMS INC                                        Contingent
          24045 Research Drive                                                  Unliquidated
          Farmington, MI 48335                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          InLand Finance Company                                                Contingent
          8040 University Blvd.                                                 Unliquidated
          Clive, IA 50325                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          IPS                                                                   Contingent
          363 W Big Beaver Rd Suite 100                                         Unliquidated
          Troy, MI 48084                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          JDC TEK                                                               Contingent
          314 East 4th Street                                                   Unliquidated
          Royal Oak, MI 48067                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,997.13
          JEBCO INVESTMENTS, LC                                                 Contingent
          4401 Stecker Street                                                   Unliquidated
          Dearborn, MI 48126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $772.30
          JET'S REPAIR SERVICE                                                  Contingent
          1125 W Waterford Avenue                                               Unliquidated
          Milwaukee, WI 53221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 32 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $339.12
          JJ KELLER AND ASSOCIATES INC.                                         Contingent
          3003 Breezewood Lane                                                  Unliquidated
          Neenah, WI 54956                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $65,374.94
          KITCH DRUTCHAS WAGNER,                                                Contingent
          VALITUTTI & SHERBROOK                                                 Unliquidated
          1 Woodward Ave Suite 2400                                             Disputed
          Detroit, MI 48226
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          KVM DOOR SYSTEMS INC                                                  Contingent
          24387 Sorrentino Court                                                Unliquidated
          Clinton Township, MI 48035                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          LAKESHORE UTILITY TRAILER INC                                         Contingent
          18239 S Telegraph Rd                                                  Unliquidated
          Romulus, MI 48174                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          M & J REPAIR                                                          Contingent
          37499 Mallory                                                         Unliquidated
          Livonia, MI 48178                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,718.98
          MARCO TECHNOLOGIES LLC                                                Contingent
          15260 Commerce Drive South                                            Unliquidated
          Dearborn, MI 48120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,250.00
          MAYNARDS                                                              Contingent
          21700 Northwestern Hwy Suite 1180                                     Unliquidated
          Southfield, MI 48075                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 33 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          METRO AIRPORT TRUCK                                                   Contingent
          13385 Inkster Rd                                                      Unliquidated
          Taylor, MI 48180                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $725.00
          MICHAEL WALKER LAW OFFICE
          23 Fire Route 26                                                      Contingent
          Trent Lakes, Ontario Canada                                           Unliquidated
          K0M1A0                                                                Disputed
          Trent Lakes, ON
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $900.00
          MIDSTATES RECYCLING SERVICES                                          Contingent
          990 Decker Rd                                                         Unliquidated
          Walled Lake, MI 48390                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $157,558.00
          MIES AND COMPANY INC                                                  Contingent
          1064 Oxford                                                           Unliquidated
          Birmingham, MI 48009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $421.67
          MOTOR CITY FASTENER INC                                               Contingent
          1600 E 10 Mile Rd                                                     Unliquidated
          Hazel Park, MI 48030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,000.00
          NATIONAL INTERSTATE                                                   Contingent
          63250 Interstate Drive                                                Unliquidated
          Richfield, OH 44286                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $289.00
          NIGHT OWL TRUCK REPAIR & TRUCKING                                     Contingent
          32428 Liparoto Drive                                                  Unliquidated
          Rockwood, MI 48173                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 34 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          OHIO DEPARTMENT OF TAXATION
          CAT                                                                   Contingent
          30 E4AST BROAD STREET                                                 Unliquidated
          9TH FLOOR                                                             Disputed
          Columbus, OH 43215
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          OMNITRACS LLC                                                         Contingent
          717 North Harwood Street Suite 1300                                   Unliquidated
          Dallas, TX 75201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $553,461.33
          PENSKE TRUCK LEASING                                                  Contingent
          2675 Morgantown Road                                                  Unliquidated
          Reading, PA 19603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,946.42
          PITNEY BOWES                                                          Contingent
          2225 American Drive                                                   Unliquidated
          Neenah, WI 54956                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,821.41
          PROPANE SERVICES                                                      Contingent
          27481 Beverly Rd                                                      Unliquidated
          Romulus, MI 48174                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $249,760.72
          RKA PETROLEUM COMPANIES                                               Contingent
          28340 Wick Road                                                       Unliquidated
          Romulus, MI 48174                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,405.00
          ROTUNDA CLEANING COMPANY INC                                          Contingent
          28650 Northline RD                                                    Unliquidated
          Romulus, MI 48174                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 35 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,340.00
          SIEGEL GREENFIELD HAYES                                               Contingent
          1 Town Square Suite 1835                                              Unliquidated
          Southfield, MI 48076                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          SIGNARAMA                                                             Contingent
          6641 Middlebelt Rd                                                    Unliquidated
          Garden City, MI 48135                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $165.00
          SM Line                                                               Contingent
          585 N Juniper Dr Suite 250                                            Unliquidated
          Chandler, AZ 85226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $33.13
          SPRINT                                                                Contingent
          PO BOX 4181                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $912.60
          STAPLES BUSINESS ADVANTAGE                                            Contingent
          7 Technology Circle                                                   Unliquidated
          Columbia, SC 29203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,476.58
          TAILORED LOGISTICS SOLUTIONS                                          Contingent
          375 83rd St                                                           Unliquidated
          Willowbrook, IL 60527                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          TOM DONAHUE TRUCKING                                                  Contingent
          4701 W Electric Avenue                                                Unliquidated
          Milwaukee, WI 53219                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 36 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,116.25
          TRAC Intermodal                                                       Contingent
          750 College Road East                                                 Unliquidated
          Princeton, NJ 08540                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $58,000.00
          TRAILER X-PRESS INC                                                   Contingent
          7979 Division Avenue South                                            Unliquidated
          Grand Rapids, MI 49548                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $39.00
          TRAILER X-PRESS INC - EAST                                            Contingent
          38600 Ford Rd                                                         Unliquidated
          Westland, MI 48185                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $421,814.06
          TRANSFORCE INC.                                                       Contingent
          7445 Allen Rd Suite 104                                               Unliquidated
          Allen Park, MI 48101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $324,814.06
          TRILLIUM DRIVERS                                                      Contingent
          21140 Allen Rd                                                        Unliquidated
          Trenton, MI 48183                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,800.00
          Verizon                                                               Contingent
          7701 E Telecom Parkway                                                Unliquidated
          Tampa, FL 33637                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $78,000.00
          WALSH SERVICE SOLUTIONS                                               Contingent
          5706 Saddle Club Drive                                                Unliquidated
          Kalamazoo, MI 49009                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 37 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                 Case number (if known)            19-54128
              Name

 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,104.13
           WASTE MANAGEMENT OF MICHIGAN                                         Contingent
           2625 W Grandview Road                                                Unliquidated
           Phoenix, AZ 85023                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.83      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $462,292.37
           WELLS FARGO EQUIPMENT FINANCE INC                                    Contingent
           MAC N9300-100 600 South 4th Street
                                                                                Unliquidated
           Minneapolis, MN 55415
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?        No      Yes

 3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           ZONAR SYSTEMS                                                        Contingent
           18200 CASCADE AVE SOUTH                                              Unliquidated
           Seattle, WA 98188                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Bodman PLC
           Attn: Marc Bakst                                                                           Line     3.83
           1901 Saint Antoine Street
                                                                                                             Not listed. Explain
           Floor 6
           Detroit, MI 48226

 4.2       Eastman & Smith
           1 SeaGate                                                                                  Line     3.18
           24th Floor
                                                                                                             Not listed. Explain
           Toledo, OH 43699

 4.3       Stupar, Schuster & Bartell, S.C.
           633 W. Wisconsin Avenue                                                                    Line     3.36
           Suite 1800
                                                                                                             Not listed. Explain
           Milwaukee, WI 53203


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                  3,443,961.19

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      3,443,961.19




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 13 of 13
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                             Page 38 of 73
 Fill in this information to identify the case:

 Debtor name         Fourteenth Avenue Cartage Company, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)         19-54128
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  WATER COOLER.
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                Expires 2/4/2020
                                                                                     ABSOPURE WATER
              List the contract number of any                                        8835 General Drive
                    government contract       6039925/ 60                            Plymouth, MI 48170


 2.2.         State what the contract or                  INTERNET, WIRELESS
              lease is for and the nature of              AND PREMISES
              the debtor's interest                       BASED FIREWALL
                                                          SERVICE.                   AT&T
                  State the term remaining                Expires 2/2/2020           c/o Bankruptcy
                                                                                     4331 Communications Dr.
              List the contract number of any                                        Floor 4W
                    government contract                                              Dallas, TX 75211


 2.3.         State what the contract or                  INSURANCE.
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                EXPIRES 6/30/2020
                                                                                     Blue Cross Blue Shield
              List the contract number of any                                        415 E Jefferson Avenue
                    government contract                                              Detroit, MI 48226


 2.4.         State what the contract or                  EQUIPMENT LEASE.
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                Unknown (60 month
                                                          lease - not dated)         CANON FINANCIAL SERVICES, INC
              List the contract number of any                                        158 Gaither Drive Suite 200
                    government contract                                              Mount Laurel, NJ 08054




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 5
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              19-54128-mlo                  Doc 34            Filed 10/17/19    Entered 10/17/19 23:07:03                    Page 39 of 73
 Debtor 1 Fourteenth Avenue Cartage Company, Inc.                                            Case number (if known)   19-54128
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   TRAILER LEASE.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 5/19/2024
                                                                                     COMPASS LEASE LLC
             List the contract number of any                                         29171 Goddard Rd
                   government contract                                               Romulus, MI 48174


 2.6.        State what the contract or                   MAINTENANCE LEASE.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Expires 5/15/2020
                                                                                     COMPASS LEASE LLC
             List the contract number of any                                         29171 Goddard Rd
                   government contract                                               Romulus, MI 48174


 2.7.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           DRIVEWIZE
                                                                                     170 6325 GATEWAY BLVD NW
             List the contract number of any                                         EDMONTON ALBERTA CA T6H5H6
                   government contract


 2.8.        State what the contract or                   MASTER VEHICLE
             lease is for and the nature of               LEASE AGREEMENT.
             the debtor's interest

                  State the term remaining
                                                                                     General Electric Capital Corp.
             List the contract number of any                                         300 E John Carpenter Freeway Suite 500
                   government contract                                               Irving, TX 75062


 2.9.        State what the contract or                   4 CANNON COPIERS
             lease is for and the nature of               -SERVICE AND
             the debtor's interest                        SUPPLIES
                                                          MAINTENANCE .
                  State the term remaining                Expires 4/17/2020
                                                                                     GOVERNOR BUSINESS SOLUTIONS
             List the contract number of any                                         15260 Commerce Drive South
                   government contract                                               Dearborn, MI 48120


 2.10.       State what the contract or                   SNOW REMOVAL AND
             lease is for and the nature of               PLOW.
             the debtor's interest

                  State the term remaining                not specified              GROUND CONTROL PROPERTY SERVICES
                                                                                     13250 Rotunda Dr Suite D
             List the contract number of any                                         Dearborn, MI 48120
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 5
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              19-54128-mlo                  Doc 34            Filed 10/17/19     Entered 10/17/19 23:07:03               Page 40 of 73
 Debtor 1 Fourteenth Avenue Cartage Company, Inc.                                            Case number (if known)   19-54128
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   LEASE:
             lease is for and the nature of               4401 Stecker Road,
             the debtor's interest                        Dearborn MI 48126.

                  State the term remaining                on going
                                                                                     JEBCO INVESTMENTS, LC
             List the contract number of any                                         4401 Stecker Street
                   government contract                                               Dearborn, MI 48126


 2.12.       State what the contract or                   LEASE 57 TRAILERS
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                varies
                                                                                     M & J REPAIR
             List the contract number of any                                         37499 Mallory
                   government contract                                               Livonia, MI 48178


 2.13.       State what the contract or                   TRUCK REPAIR
             lease is for and the nature of               GARAGE.
             the debtor's interest
                                                                                     MCI Communications Services, Inc.
                  State the term remaining                expires 4/1/2023           c/o Verizon Global Real Estate
                                                                                     Attn: Lease Administration
             List the contract number of any                                         7701 E Telecom Parkway
                   government contract                                               Tampa, FL 33637


 2.14.       State what the contract or                   INSURANCE.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                10/3/.2019
                                                                                     NATIONAL INTERSTATE
             List the contract number of any                                         63250 Interstate Drive
                   government contract                                               Richfield, OH 44286


 2.15.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                unknown
                                                                                     OMNITRACS
             List the contract number of any                                         717 North Harwood Street Suite 1300
                   government contract                                               Dallas, TX 75201


 2.16.       State what the contract or                   TRUCK
             lease is for and the nature of               MAINTENANCE.               PENSKE
             the debtor's interest                                                   2675 Morgantown Road
                                                                                     Reading, PA 19603
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 5
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              19-54128-mlo                  Doc 34            Filed 10/17/19     Entered 10/17/19 23:07:03               Page 41 of 73
 Debtor 1 Fourteenth Avenue Cartage Company, Inc.                                            Case number (if known)   19-54128
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining                Expires 3/27/2024

             List the contract number of any
                   government contract


 2.17.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                unknown
                                                                                     PITNEY BOWES
             List the contract number of any                                         2225 American Drive
                   government contract                                               Neenah, WI 54956


 2.18.       State what the contract or                   COPIER
             lease is for and the nature of               MAINTENANCE.
             the debtor's interest

                  State the term remaining
                                                                                     RICOH
             List the contract number of any                                         46620 Ryan Ct
                   government contract                                               Novi, MI 48377


 2.19.       State what the contract or                   CHASSIS POOL.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     TRAC Intermodal
             List the contract number of any                                         750 College Road East
                   government contract                                               Princeton, NJ


 2.20.       State what the contract or                   TRAILERS.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     TRAILER X-PRESS INC
             List the contract number of any                                         7979 Division Avenue South
                   government contract                                               Grand Rapids, MI 49548


 2.21.       State what the contract or                   TRAILERS.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     TRAILER X-PRESS INC - EAST
             List the contract number of any                                         38600 Ford Rd
                   government contract                                               Westland, MI 48185




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19     Entered 10/17/19 23:07:03               Page 42 of 73
 Debtor 1 Fourteenth Avenue Cartage Company, Inc.                                            Case number (if known)   19-54128
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.22.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     TRANSFORCE
             List the contract number of any                                         7445 Allen Rd Suite 104
                   government contract                                               Allen Park, MI 48101


 2.23.       State what the contract or                   INDUSTRAIL PARKING
             lease is for and the nature of               LOT SWEEPER.
             the debtor's interest

                  State the term remaining                expires 7/20/2022
                                                                                     WELLS FARGO EQUIPMENT FINANCE INC
             List the contract number of any                                         MAC N9300-100 600 South 4th Street
                   government contract       301-0372944-001                         Minneapolis, MN 55415


 2.24.       State what the contract or                   EQUIPMENT LEASE -
             lease is for and the nature of               HARDWARE, DATA
             the debtor's interest                        TRANSMISSION AND
                                                          DATA STORAGE
                                                          SERVICE.
                  State the term remaining                expires 5/1/2021
                                                                                     ZONAR SYSTEMS
             List the contract number of any                                         18200 CASCADE AVE SOUTH
                   government contract                                               Seattle, WA 98188




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 5 of 5
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              19-54128-mlo                  Doc 34            Filed 10/17/19     Entered 10/17/19 23:07:03               Page 43 of 73
 Fill in this information to identify the case:

 Debtor name         Fourteenth Avenue Cartage Company, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)         19-54128
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Beatrice P. Ryan                                                                    CHEMICAL BANK                      D
             Trust, 6.8.1995                                                                                                        E/F
                                                                                                                                    G




    2.2      Beatrice Ryan                     28336 Wildwood Trail                              CHEMICAL BANK                      D
                                               Farmington, MI 48336                                                                 E/F
                                                                                                                                    G




    2.3      Beatrice Ryan                     28336 Wildwood Trail                              WELLS FARGO                        D
                                               Farmington, MI 48336                              EQUIPMENT                          E/F
                                                                                                 FINANCE INC                        G




    2.4      Beatrice Ryan                     28336 Wildwood Trail                              PENSKE                             D
                                               Farmington, MI 48336                                                                 E/F
                                                                                                                                    G




    2.5      Greg Rappa                        28336 Wildwood Trail                              InLand Finance                     D   2.5
                                               Farmington, MI 48336                              Company                            E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 3
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              19-54128-mlo                  Doc 34            Filed 10/17/19   Entered 10/17/19 23:07:03                 Page 44 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                     Case number (if known)   19-54128


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      James E. Ryan                                                                     CHEMICAL BANK                  D
             Trust u/a/d                                                                                                      E/F
             10.16.1987                                                                                                       G




    2.7      James E. Ryan                                                                     CHEMICAL BANK                  D
             Trust, U/A/D                                                                                                     E/F
             10.16.1987                                                                                                       G




    2.8      James V Ryan                      22882 Coachlight Circle                         TRAILER X-PRESS                D
                                               Taylor, MI 48180                                INC                            E/F
                                                                                                                              G




    2.9      JEBCO                             4401 Stecker Street                             Chemical Bank                  D   2.1
             INVESTMENTS,                      Dearborn, MI 48126                                                             E/F
             LC
                                                                                                                              G




    2.10     JEBCO                             4401 Stecker Street                             Chemical Bank                  D   2.2
             INVESTMENTS,                      Dearborn, MI 48126                                                             E/F
             LC
                                                                                                                              G




    2.11     JEBCO                             4401 Stecker Street                             InLand Finance                 D   2.5
             INVESTMENTS,                      Dearborn, MI 48126                              Company                        E/F
             LC
                                                                                                                              G




    2.12     JEBCO                             4401 Stecker Street                             WELLS FARGO                    D
             INVESTMENTS,                      Dearborn, MI 48126                              EQUIPMENT                      E/F
             LC                                                                                FINANCE INC                    G




    2.13     Beatrice P. Ryan                                                                  COMPASS LEASE                  D
                                                                                               LLC                            E/F
                                                                                                                              G   2.5




Official Form 206H                                                         Schedule H: Your Codebtors                                   Page 2 of 3
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              19-54128-mlo                  Doc 34            Filed 10/17/19   Entered 10/17/19 23:07:03              Page 45 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                     Case number (if known)   19-54128


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     JEBCO                             4401 Stecker Street                             General Electric               D
             INVESTMENTS,                      Dearborn, MI 48126                              Capital Corp.                  E/F
             LC
                                                                                                                              G   2.8




Official Form 206H                                                         Schedule H: Your Codebtors                                Page 3 of 3
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              19-54128-mlo                  Doc 34            Filed 10/17/19   Entered 10/17/19 23:07:03              Page 46 of 73
 Fill in this information to identify the case:

 Debtor name         Fourteenth Avenue Cartage Company, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)         19-54128
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $12,192,163.68
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $15,942,977.13
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $16,273,518.13
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                     Page 47 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                   Case number (if known) 19-54128



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHED EXHIBIT 1                                                                              $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    WELLS FARGO EQUIPMENT FINANCE                                                               $229,460.00           Trailer lease.
               INC
               MAC N9300-100 600 South 4th Street
               Minneapolis, MN 55415

       4.2.    CHEMICAL BANK                                                                             $2,297,393.30           Mortage payment interests
               333 E Main St                                                                                                     payment, paid downs on line of
               Midland, MI 48640                                                                                                 credit.

       4.3.    Wells Fargo Vendor Financial Services                                                        $15,289.45           Copiers.
               c/o Ricoh USA Program
               BANKRUPTCY ADMINISTRATION
               P.O. Box 13708
               Macon, GA 31208-3708

       4.4.    InLand Finance Company                                                                         $7,699.44          Coffee, vending machines
               8040 University Blvd.
               Clive, IA 50325

       4.5.    PENSKE                                                                                    $2,450,162.49           Trucks.
               2675 Morgantown Road
               Reading, PA 19603

       4.6.    Banc of America                                                                             $104,535.05           Trailer leases.
               475 Crossy Point Parkway
               Getzville, NY 14068-9000

       4.7.    TRAILER X-PRESS INC                                                                          $29,266.62           Trailer Leases.
               7979 Division Avenue South
               Grand Rapids, MI 49548

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Ally Financial Inc.                                       2018 ALFA ROMEO STELVIO                                       8/1/2019                     Unknown
       PO Box 8118
       Cockeysville, MD 21030


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                         Page 48 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                   Case number (if known) 19-54128



6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken
       CHEMICAL BANK                                             Returned checks to customers, employees                       September 27,               Unknown
       333 E Main St                                             and creditors for NSF.                                        2019 through
       Midland, MI 48640                                         Last 4 digits of account number:                              October 3,
                                                                                                                               2019.


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    Flyers Energy, LLC v                              COLLECTION                Circuit Court - County of                    Pending
               Fourteenth Avenue Cartage                         ACTION ON                 Milwaukee                                    On appeal
               Company, Inc.                                     CONTRACT FOR              901 N. Ninth Street
                                                                                                                                        Concluded
               19-cv-003716, State of                            FUEL SUPPLY.              Milwaukee, WI 53233
               Wisconsin Circuit

       7.2.    Wells Fargo Equipment                             Collection action         Wayne County Business                        Pending
               Finance Inc., Plaintiff                           on trailer leases.        Court                                        On appeal
               v                                                                           Two Woodward Avenue
                                                                                                                                        Concluded
               Fourteenth Avenue Cartage                                                   Coleman A. YOung
               Company, Inc., JEBCO                                                        Municipal Center
               Investments L.C The James                                                   Detroit, MI 48226
               E. Ryan Trust, and Beatrice
               Ryan, Defendants.
               18-014562-CB

       7.3.    Advantage Trailer Services,                       Collection action         Wayne County Circuit Court                   Pending
               LLC, et al.                                       on trailer leases.        Two Woodward Avenue                          On appeal
               v                                                                           Detroit, MI 48226
                                                                                                                                        Concluded
               Fourteenth Avenue Cartage,
               Inc.
               19-006036-CB

       7.4.    Banc of America Leasing &                         Collection action         Circuit Court for the County                 Pending
               Capital, LLC                                      on trailer leases.        of Wayne                                     On appeal
               v                                                                           Two Woodward
                                                                                                                                        Concluded
               Fourteenth Avenue Cartage                                                   Detroit, MI 48226
               Company, Inc., JEBCO
               Investments, L.C. and James
               E. Ryan , jointly and severally
               19-003143-CB

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
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              19-54128-mlo                  Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                      Page 49 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                       Case number (if known) 19-54128




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                      Value

       9.1.    Operation Good Cheer                              Debtor donated truck, driver and fuel to
                                                                 transport donations during the holiday                   December 2017
                                                                 season.                                                  & 2018                     Unknown

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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              19-54128-mlo                  Doc 34            Filed 10/17/19              Entered 10/17/19 23:07:03                  Page 50 of 73
 Debtor        Fourteenth Avenue Cartage Company, Inc.                                                  Case number (if known) 19-54128



                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.                                                                                                                   4/14/2019 -
                                                                                                                               $2,850.00
                                                                                                                               4/10/2019 -
                                                                                                                               $8,474.00
                                                                                                                               4/19/2019 -
                                                                                                                               $6,260.00
                                                                                                                               4/26/2019 -
                                                                                                                               $7,638.00
                                                                                                                               5/6/2019 -
                                                                                                                               $9,600.00
                                                                                                                               5/16/209 -
                                                                                                                               $8,740.00
                                                                                                                               5/31/2019 -
                                                                                                                               $6,346.00
                                                                                                                               6/7/2019 -
                                                                                                                               $7,030.00
                                                                                                                               6/14/2019 -
                                                                                                                               $5,738.00
                                                                                                                               8/31/2019 -
                                                                                                                               $7,258.00
                                                                                                                               9/3/2019 -
                MIES AND COMPANY INC.                                                                                          $7,866.00
                1064 Oxford                                                                                                    9/10/2019
                Birmingham, MI 48009                                                                                           $4,940.00           $82,612.00

                Email or website address


                Who made the payment, if not debtor?




       11.2.    Wernette Heilman PLLC
                40900 Woodward Ave.
                Bloomfield Hills, MI 48304                                                                                     8/30/2019             $6,469.93

                Email or website address
                mike@wernetteheilman.com

                Who made the payment, if not debtor?
                Beatrice Ryan


       11.3.                                                                                                                   3/1/2019-
                                                                                                                               $5485
                                                                                                                               5/1/2019 -
                                                                                                                               $10869.50
                GUEST, OLDS & WEST PLC                                                                                         7/5/2019 -
                30600 Telegraph Rd Suite                                                                                       $5235.00
                3165                                                                                                           9/10/2019
                Southfield, MI 48025                                                                                           $5,730.00           $27,319.50

                Email or website address


                Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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               19-54128-mlo                 Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                      Page 51 of 73
 Debtor        Fourteenth Avenue Cartage Company, Inc.                                                   Case number (if known) 19-54128



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.4.                                                                                                                   4/12/2019 $
                                                                                                                               2,500.00
                                                                                                                               5/22/2019 $
                                                                                                                               3173.12
                                                                                                                               5/22/2019 $
                 Wernette Heilman PLLC                                                                                         5000.00
                 40900 Woodward Ave.                                                                                           9/11/2019
                 Bloomfield Hills, MI 48304                                                                                    $6,652.74              $17,325.86

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
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               19-54128-mlo                 Doc 34            Filed 10/17/19            Entered 10/17/19 23:07:03                      Page 52 of 73
 Debtor      Fourteenth Avenue Cartage Company, Inc.                                                    Case number (if known) 19-54128



16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                  Page 53 of 73
 Debtor      Fourteenth Avenue Cartage Company, Inc.                                                    Case number (if known) 19-54128




      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       GUEST, OLDS & WEST PLC                                                                                                     Since the 1990s.
                    30600 Telegraph Rd Suite 3165
                    Franklin, MI 48025

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       GUEST, OLDS & WEST PLC                                                                                                     Since the 1990s.
                    30600 Telegraph Rd Suite 3165
                    Franklin, MI 48025

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
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              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                        Page 54 of 73
 Debtor      Fourteenth Avenue Cartage Company, Inc.                                                    Case number (if known) 19-54128




              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       GUEST, OLDS & WEST PLC                                                                   Since the 1990s.
                    30600 Telegraph Rd Suite 3165
                    Franklin, MI 48025

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       WELLS FARGO EQUIPMENT FINANCE INC
                    MAC N9300-100 600 South 4th Street
                    Minneapolis, MN 55415
       26d.2.       CHEMICAL BANK
                    333 E Main St
                    Midland, MI 48640
       26d.3.       PENSKE
                    2675 Morgantown Road
                    Reading, PA 19603
       26d.4.       Advantage Trailers
                    6246 W. Sterns Road
                    Detroit, MI 48267
       26d.5.       Aim Capital
                    7337 East Doubletree Ranch Road
                    Ste 195
                    Scottsdale, AZ 85258
       26d.6.       Avtech Capital
                    6995 Union Park Denter
                    Ste. 400
                    Cottonwood Heights, UT 84047
       26d.7.       Comerica Bank
                    39200 Six Mile Road
                    Livonia, MI 48152
       26d.8.       South Star Capital
                    840 Lowcountry Blvd.
                    Mount Pleasant, SC 29464
       26d.9.       Credibly
                    25200 Telegraph Road
                    Southfield, MI 48033
       26d.10.      Curtis Funding Group
                    61 Oakwood Drive
                    Coldwater, MI 49036
       26d.11.      Diamond Business Credit


       26d.12.      Diversified Members Credit Union
                    61 Oakwood Drive
                    Coldwater, MI 49036


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                  Page 55 of 73
 Debtor      Fourteenth Avenue Cartage Company, Inc.                                                    Case number (if known) 19-54128



       Name and address
       26d.13.      First Business Credit


       26d.14.      First National Bank - Howell
                    101 E. Grand River
                    Howell, MI 48844
       26d.15.      First State Bank
                    11555 26 Mile Road
                    Washington, MI 48094
       26d.16.      Flagstar Bank
                    5720 Sashabaw Road
                    Clarkston, MI 48348
       26d.17.      Great Lakes Business Credit
                    1700 W. Big Beaver
                    Troy, MI 48085
       26d.18.      Hitachi


       26d.19.      Loeb Term Solutions
                    4131 S. State Street
                    Chicago, IL 60609
       26d.20.      National Credit Corp
                    PO Box 9156
                    Alexandria, VA 22304
       26d.21.      Nations Equipment Finance
                    501 Merritt
                    Norwalk, CT 06851
       26d.22.      Oxford Capital
                    64 S. Washington
                    Oxford, MI 48371
       26d.23.      Smokey Mountain Funding
                    239 Davis Street
                    Hendersonville, NC 28379
       26d.24.      Utica Leaseco
                    905 South Boulevard East
                    Rochester, MI 48307

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       James V Ryan                                   22882 Coachlight Circle                             Chief Operating Officer and           100%
                                                      Taylor, MI 48180                                    Director


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                   Page 56 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                   Case number (if known) 19-54128



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Beatrice Ryan                                  28336 Wildwood Trail                                President and Secretary             0%
                                                      Farmington, MI 48336

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Greg Rappa                                     28336 Wildwood Trail                                Treasurer                           0%
                                                      Farmington, MI 48336

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Barbara Smokovitz                                                                                  Director                            0%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       James E. Ryan Trust u/a/d                      October 16, 1987                                    Prior owner but not
                                                                                                          active in controlling the
                                                                                                          Debtor.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1                                                                                                                               JEBCO
       .                                                         $550,080.10                                                              Invenstments, LC
                                                                 Rent: $102,512,29                                                        receives
               JEBCO INVESTMENTS, LC                             Management/ Administration Services: $                  10/3/2018        payments as
               4401 Stecker Street                               166,144.87                                              through          described above
               Dearborn, MI 48126                                Equipment Rental: $281,422.94                           10/3/2019        from Debtor.

               Relationship to debtor
               Wholly owned by James. V.
               Ryan.


       30.2                                                                                                              One year prior
       .    Jordan Morris                                                                                                to filing
               28276 Shady Lane Drive                                                                                    bankruptcy
               Farmington Hills, MI 48336                        $19,497.34                                              petition.        EMPLOYMENT.

               Relationship to debtor
               Nephew




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                     Page 57 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                   Case number (if known) 19-54128



               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.3                                                                                                              One year prior
       .    Beatrice L. Morris                                                                                           to filing
               28276 Shady Lane Drive                                                                                    bankruptcy
               Farmington Hills, MI 48336                        $17,175.00                                              petition.        EMPLOYMENT.

               Relationship to debtor
               Niece


       30.4                                                                                                              One year prior
       .    Greg Rappa                                                                                                   to filing
               28336 Wildwood Trail                                                                                      bankruptcy
               Farmington, MI 48336                              $58,000.00                                              petition.        EMPLOYMENT

               Relationship to debtor
               Sibling


       30.5                                                                                                              One year prior
       .    Rachael Loveless                                                                                             to filing
               7292 Grandwood Drive                                                                                      bankruptcy
               Swartz Creek, MI 48473                            $38,707.68                                              petition.        EMPLOYMENT.

               Relationship to debtor
               Niece


       30.6                                                                                                              One year prior
       .    Wayne Breneman, Sr.                                                                                          to filing
               1333 Clark Lake Road                                                                                      bankruptcy
               Brighton, MI 48114                                $64,717.70                                              petition.        EMPLOYMENT.

               Relationship to debtor
               Brother-in-Law


       30.7                                                                                                              One year prior
       .    Wayne Breneman, Jr.                                                                                          to filing
               1333 Clark Lake Road                                                                                      bankruptcy
               Brighton, MI 48114                                $47,595.79                                              petition.        EMPLOYMENT.

               Relationship to debtor
               Nephew


       30.8                                                                                                              One year prior
       .    Benjamin Breneman                                                                                            to filing
               1333 Clark Lake Road                                                                                      bankruptcy
               Brighton, MI 48114                                $41,251.85                                              petition.        EMPLOYMENT.

               Relationship to debtor
               Nephew


       30.9                                                                                                              One year prior
       .                                                                                                                 to filing
               Beatrice P. Ryan                                                                                          bankruptcy
                                                                 $153,000.00                                             petition.        EMPLOYMENT.

               Relationship to debtor
               Mother.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 12
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                  Page 58 of 73
 Debtor       Fourteenth Avenue Cartage Company, Inc.                                                   Case number (if known) 19-54128



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                                                EMPLOYER
       0.                                                                                                                                  PORTION OF
                                                                                                                                           FICA OWING ON
                                                                                                                                           CERTAIN SHORT
                                                                                                                                           TER AND LONG
                                                                                                                         July 2018         TERM DISABILITY
               James V. Ryan                                                                                             through           BENEFITS PAID
               22882 CoachLight Circle                                                                                   December          BY A THIRD
               Taylor, MI 48180                                  $1,397.78                                               2018.             PARTY INSURER.

               Relationship to debtor
               Cheif Operating Officer and
               Owner


       30.1                                                                                                              May 26, 2019
       1.   FACET LLC                                                                                                    through
               2882 Coachlight Circle                                                                                    September 9,      MANAGEMENT
               Taylor, MI 48180                                  $34,000                                                 2019.             SERVICES.

               Relationship to debtor
               Wholly owned by James V.
               Ryan


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 17, 2019

 /s/ James V. Ryan                                                      James V. Ryan
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Operating Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              19-54128-mlo                  Doc 34            Filed 10/17/19           Entered 10/17/19 23:07:03                     Page 59 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 60 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 61 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 62 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 63 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 64 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 65 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 66 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 67 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 68 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 69 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 70 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 71 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 72 of 73
19-54128-mlo   Doc 34   Filed 10/17/19   Entered 10/17/19 23:07:03   Page 73 of 73
